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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 17-cv-62374-BB

 WATSON MUSIC GROUP, LLC

         Plaintiff,

 v.

 SPOTIFY USA INC,

       Defendant.
 ___________________________________/

      ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION TO CONTINUE STAY

         THIS CAUSE is before the Court upon Plaintiff’s Unopposed Motion to Continue Stay.

 See ECF No. [28]. In the motion, Plaintiff asks the Court to continue the stay of the proceedings

 entered in this case on February 12, 2018, see ECF No. [26], until Plaintiff’s appeal of the United

 States District Court for the Southern District of New York’s order and final judgment approving

 the class action settlement in Ferrick v. Spotify USA, Inc., Case No. 16-cv-8412 (AJN) (the

 “Ferrick Class Action”) has been resolved, see ECF No. [28].

         The Court, having carefully reviewed the file and being otherwise fully advised, it is

 ORDERED AND ADJUDGED that Plaintiff’s Unopposed Motion to Continue Stay, ECF No.

 [28], is GRANTED. The parties are to file the appropriate papers with the Court within seven

 (7) days of the determination Plaintiff’s appeal of the order and final judgment approving the

 class action settlement in the Ferrick Class Action.
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                                                             Case No. 17-cv-62374-BB

        DONE AND ORDERED in Miami, Florida this 30th day of May, 2018.




                                               _________________________________
                                               BETH BLOOM
                                               UNITED STATES DISTRICT JUDGE

 cc: counsel of record




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